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pase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20

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UNITED STATES OF AMERICA,
Plaintiff,
vs.

DONOVAN CLOUD,

DATE:
TIME:

 

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

 

PagelD.2838 Page 1 of 30

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
(Honorable Salvador Mendoza, Jr.)

NO. 1:19-CR-02032-SMJ-2

)

)

)

MOTION TO CONTINUE THE

) TRIAL AND STRIKE THE DEFENSE
Defendant. ) MOTON TO SUPPRESS

) IDENTIFICATION (ECF NO. 194)

WITH LEAVE TO RENEW

)

)

)

)

December 15, 2020
9:00 a.m.

TO: Clerk of U.S. District Court, Eastern District of Washington
TO: Thomas J. Hanlon, Assistant United States Attorney

 
 

Case 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2839 Page 2 of 30

I. MOTION

COMES NOW DONOVAN CLOUD, by and though his attorneys of record,
Richard A. Smith and Mark A. Larrafiaga moves this Court to continue the current
trial date and deadlines set out in ECF No. 165 and per ECF No. 268 moves to strike
the Defense Motion to Suppress Identification (ECF No. 194) with leave to renew.

As noted at the November 24, 2020, status hearing, and memorialized in the
Court’s order issued December 2, 2020 (ECF No. 268), the Government advised that
nearly all the outstanding forensics testing should be completed by February 2021,
and whether it intends to seek a Fourth Superseding Indictment hinges on the
outcome of those results. ECF No. 268 at 1-2.

Although all of the parties agree that a trial under the case’s current status
would need to be continued to no sooner than the Fall of 2021. It is unclear whether
the Court desired the parties to provide potential trial dates based on the current
posture of the case, or wait until the outstanding forensic testing and the
Government’s decision regarding a potential Fourth Superseding Indictment before
entertaining possible trial dates.

Donovan Cloud, through counsel, believed the Court wanted the former, and

as such requests a trial date of February 28, 2022, with a pretrial conference set for

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

 
Case 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2840 Page 3 of 30

January 25, 2022.' Donovan Cloud’s counsel will work with the parties and provide
the Court with a proposed case management order for its review before the next status
hearing. These dates are based on the current status of the case. As noted, there are
outstanding matters, including the potential of a Fourth Superseding Indictment that
may contain capitally-charged offenses, that will impact the proposed dates.”
Counsel for Donovan Cloud have contacted the Government and attorneys for

James Cloud to obtain their respective positions. Both agree that the current trial date

 

and deadlines set out in ECF No. 165 should be stricken. Counsel for James Cloud
intends to submit a separate pleading setting out their position regarding a proposed
trial and due dates. Government counsel believes a new trial date should be set but
disagrees with the date proposed in this motion.

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I One of Donovan Cloud’s attorneys informed the Court that he was assigned a

federal capital case in the District of Alaska (Anchorage) that was originally set to
start in June 2020, but due to COVID-19 was continued, with jury selection to begin
September 13, 2021. United States v. John Pearl Smith, No. 3:16-cr-00086-SLG,
ECF. No. 935 (Fourth Amended Scheduling Order). That parties in that case
estimated the matter could take up to three months.

2 Specific DOJ protocols come into play if charges are potential capital. See e.g.,
U.S. Attorneys Manual (USAM) 9-10.000.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

 

 
 

Case 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2841 Page 4 of 30

Il. PROCEDURAL HISTORY

On or about June 11, 2019, the Government indicted both defendants with
carjacking and brandishing a firearm during a crime of violence. A trial was set for
August 19, 2019.4 Approximately a month before trial, the Government, on July 17,
2019, filed a superseding indictment, adding a charge of kidnapping against both
defendants and assault with a dangerous weapon against James Cloud.° On July 22,
2019, based in part on the filing of the superseding indictment, the Court continued
the trial to October 28, 2019.°

On October 4, 2019, the Court granted the unopposed motion to continue the
trial, amending the prior case schedule and setting a trial date for April 27, 2020.’
On February 11, 2020, the Government filed is second superseding indictment,
adding charges of first degree murder and discharge of a firearm during a crime of
violence against James Cloud.® On February 18, 2020, Donovan Cloud filed a motion
to continue the trial, to which the Government did not object and James Cloud took

no position.’

 

ECF No. 17.

ECF Nos. 31, 45.
ECF No. 59.

ECF No. 79.

ECF No. 117.

ECF No. 132.

? ECF Nos. 144, 152.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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Case 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2842 Page 5 of 30

Less than a month later, on March 11, 2020, COVID-19, which was
characterized as a pandemic by the World Health Organization, broke out world-
wide.'? On March 13, 2020, the President of the United States declared a national
emergency because of the COVID-19 outbreak.'' At that time, the State of
Washington’s Governor, Jay Inslee, declared a state of emergency and has banned
private gatherings in excess of 250 people throughout the state (originally the ban
was limited to three counties). !?

Donovan Cloud supplemented the motion to continue on April 1, 2020, to
include the limitations and restrictions caused by COVID-19." On April 13, 2020,
this Court granted in part the motion to continue and set the trial date for January 19,
2021, and reasoned:

To ensure defense counsel is afforded adequate time to review discovery,

prepare any pretrial motions, conduct investigation, and prepare for trial,

the Court grants the motion, extends the pretrial motion deadline, and
resets the currently-scheduled pretrial conference and trial dates.!4

 

” See World Health Organization: https://www.who.int/dg/speeches/detail/who-
director-general-s-opening-remarks-at-the-media-briefing-on-covid-19--- 1 1-march-
2020.

. See https://www.cnn.com/2020/03/13/politics/states-coronavirus-
fema/index.htm|

2 On March 15, 2020, CDC provided guidance banning gathering of more than
50 people anywhere in the US for the next 60 days.
https://www.cnbc.com/2020/03/1 6/cdc-recommends-the-cancellation-of-events-with-
50-or-more-people-for-the-next-eight-weeks-throughout-us.html

i ECF No. 163.

M4 ECF No. 165.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

 

 
Case 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2843 Page 6 of 30

On June 18, 2020, the Yakima County Jail, where Donovan Cloud is housed,
reported 19 inmates tested positive for the virus, which peaked over the following
months to 130 inmates (31% of the inmate population) and 34 correction officers,
and although may have recently declined still remains a concern.)

A pre-trial hearing and status conference were scheduled for June 23, 2020.
However, at that time, Yakima County reported the total COVID-19 related case
count was approximately 6,476.'° The parties submitted a Joint Emergency Motion
to Continue Hearing and Status Conference, which this Court granted and
rescheduled the matters to September 29-30, 2020.!”

On September 9, 2020, Donovan Cloud filed a motion to continue the

evidentiary hearing scheduled for September 29-30, 2020, based primarily on the

devasting effects of COVID-19.!8 The Court denied Donovan Cloud’s motion.!®

 

5 Yakima Herald, Yakima County jail officials say COVID-19 outbreak under
control at facility.
https://www.yakimaherald.com/special_projects/coronavirus/yakima-county-jail-
officials-say-covid-19-outbreak-under-control-at-facility/article 2e56bf51-8b19-

58 1a-aae8-7¢3659e019b4.html (last visited 9/10/2020).

'6 _ KIMA, Yakima County reports 117 new COVID-related cases on Sunday, July
21, 2020.

"7 See ECF No. 182, 7/1/2020 Text Order.

. ECF No. 190.

_ ECF No. 197.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

 

 
 

Case 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2844 Page 7 of 30

On September 11, 2020, the defense filed a Motion to Suppress
Identification.” The Government filed its response on September 21, 2020.7! The
hearing is scheduled for December 15, 2020, but the Court directed counsel to
provide a status report covering the motion, including whether wishes to strike the
motion with leave to renew.”

A status conference was held on October 27, 2020.77 The Court addressed two
main areas: discovery concerns and grand jury proceedings, including potential
superseding indictments.” Part of the discovery matters addressed were the defenses’
concern about effective representation when only redacted discovery had been made
available. The Court granted disclosure of unredacted discovery be provided to
defense counsel, but directed the parties to submit a proposed protective orders
regarding how the unredacted discovery was to be shown to and discussed with the

defendants.?>

 

20 ECF No. 194.

21 ECF No. 204.

22 ECF No. 268 at 3.

23 «ECF No. 235 (transcript of Oct. 27, 2020, status conference).

as ECF No. 230 (Order Memorializing Oral Rulings at Oct. 27, 2020 Status
Conference).

25 ECF No. 235 at 10-11, 14-15. All parties have filed their respective proposed
protective orders as to the disclosure of unredacted materials. ECF No. 236
(Government’s Motion for Discovery Protective Order) and ECF No. 237 (Defense
Motion and Memorandum in Support of Defense Proposed Protective Order). The

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

 
 

Case 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2845 Page 8 of 30

The Government also advised that it intended to seek a third superseding
indictment.*° The Government acknowledged that the alleged crimes at “Medicine
Valley Road” were not capital.*” However, the Government also acknowledged there
were two potential homicide crimes separate from those at Medicine Valley Road
that may or may not be capitally charged, but were waiting on outstanding lab reports
to decide whether to seek a Fourth Superseding Indictment.”® Given the limitations
caused by the COVID-19 pandemic, the Court set November 17, 2020, as a tentative
deadline for the Government to seek a Third Superseding Indictment, stressing that
deadline is contingent on grand jury proceedings actually taking place.”

On November 18, 2020, a Third Superseding Indictment was filed against
Donovan Cloud, adding two counts of homicide, two counts of brandishing a firearm
during a crime of violence, and two counts of assault.*°

On November 20, 2020, the parties filed a joint status report setting out

potential matters to be addressed at the November 24, 2020, status hearing.*! At the

 

Court issued its order on November 12, 2020, granting the Government’s proposed
protective order and denying the defendant’s protective order. ECF No. 239.

26 —«ECF No. 230 at 3.

a ECF No. 235 at 30.

28 Id. at 34-35.

29 ECF No. 230, 235 at 35.

30 ECF No. 242.

_ ECF No. 252.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

 
 

Case 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2846 Page 9 of 30

status hearing on November 24, 2020, the Government informed the Court regarding
the status of various matters being tested (i.e., DNA, metallurgy, latent prints, and
firearm/tool marks), noting it contemplated the reports be completed before
February, 2021.°? The Government also indicated that some of the materials being
tested involve uncharged offenses, but depending on the results the Government
would be seeking a Fourth Superseding Indictment.”

Il. LEGAL BASIS

A. The COVID-19 Pandemic has Significantly Worsened.

As noted, in March, 2020, the COVID-19 pandemic broke out across the
world, the United States, the State of Washington, and Yakima County. And it has
only gotten worse.

With no relief in sight, in the United States alone, the Covid-19 pandemic has

taken ahold of over fourteen million people, with nearly 300,000 lives lost.**

 

7 ECF No. 268 at 1-2.

33 Id.

4 hitps://covid.cde.gov/covid-data-tracker/Hcases (Last visited December 4, 2020).
As documented by the Centers for Disease Control (CDC), in just one day, from
November 10, 2020 to November, 2020, there was over 134,000 new cases and 1,859

new deaths in the U.S. The numbers continue to increase.
Defense (Donovan Cloud) Motion to Continue

Trial and to Strike the Motion to Suppress Identification

(ECF No. 194) With Leave to Renew

 
dtase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2847 Page 10 of 30

Currently, the United States is averaging two deaths from COVID-19 per minute and
several experts project the death toll will soon surpass 3,000 per day.*°

Washington state has recorded over 170,000 confirmed cases, over 11,000
hospitalizations, and close to 3,000 deaths.*° In Yakima County alone, there have
been 14,078 confirmed cases; over 11,000 hospitalizations and 312 deaths.*” In fact,
Yakima County has the third highest total number of cases (545.2) per 10,000
residents, with nearby Adams and Franklin counties reporting the first and second
highest respectively.*®

After various local and state governments eased some of the restrictions, areas
throughout Washington State saw surges in Covid-19 cases.*? And the pandemic

continues to get worse.

 

35 Two people dying every minute: US COVID-19 deaths shatter more records, The
Sydney Morning Herald, December 5, 2020. https://www.smh.com.au/world/north-
america/two-people-dying-every-minute-us-covid-19-deaths-shatter-more-records-
20201205-p56kuh.html
3*https://www.doh.wa.gov/Emergencies/NovelCoronavirusOutbreak2020COVID19
/DataDashboard (Last visited December 4, 2020). Members of the defense teams
reside in Spokane and King County, locations that have fared just as bad: Spokane
County has spiked to over 17,000 confirmed cases and 265 deaths; and King County

has over 45,000 confirmed cases and 900 deaths.
7 Id.
Bs Id.

39 John Hopkins University of Medicine, Coronavirus Resource Center, Impact of
Reopening and Closing Decisions by State, Washington.
https://coronavirus.|hu.edu/data/state-timeline/new-confirmed-cases/washington

(last visited November 11, 2020).

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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Pase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2848 Page 11 of 30

On October 28, 2020, the day following a status hearing, the Washington State
Department of Health (DOH) released its statewide situation report on COVID-19
transmission.*? Some of the report’s findings include:

A general rise in the intensity of the epidemic in both western and
eastern Washington;

- Transmission is increasing in western and eastern Washington. The
best estimates of the reproductive number (how many new people each
COVID-19 patient will infect) were 1.34 in western Washington and
1.12 in eastern Washington as of October 10. The goal is a number well
below one, which would mean COVID-19 transmission is declining;

- From mid-September to mid-October, case counts and
hospitalizations have risen in both western and_ eastern
Washington. Some of the increase in early October appears to be due
to more testing. However, case counts increased during the week
ending October 15 despite decreases in testing;

- Increases in western Washington are widely distributed
geographically and across ages. Growth is particularly high in the 25
to 39 and 40 to 59 age groups and in the Puget Sound region
(Snohomish, King and Pierce counties). This wide distribution suggests
increases are due to broad community spread, not driven by a single
type of activity or setting;

- Though cases have been rising at a slower rate in eastern
Washington, other trends indicate a risk for faster growth in the
future. The proportion of positive tests to total tests is considerably
higher in eastern Washington than western Washington. Additionally,
the case rate per person in eastern Washington remains twice as high as
in western Washington;

 

40 https://coronavirus.wa.gov/news/covid-19-activity-intensifying-across-
washington-state.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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- Trends are also mixed in counties with flat or decreasing case
counts. After gradual but steady increases through October 5, case
counts in Benton and Franklin counties have plateaued. In Spokane
County, case counts are now flat following a steep increase in early to
mid-September. Case counts are fluctuating in Whitman County, with
some likely increases in older people following a recent spike in the
college-age population. Cases remain flat in Yakima County.*!

Although the report notes cases remained flat in Yakima County, the report
cautioned: “Any spike in COVID-19 cases will jeopardize our progress toward
reopening schools, strain our healthcare system and increase risks during holiday
gatherings.”4* Unfortunately the COVID-19 spikes have occurred.

Since that report on November 11, 2020, the coronavirus levels reached record
highs in Washington state, prompting health officials to warn that “any in-person
gathering is risky.”*? Washington’s Secretary of Health, John Wiesman noted: “We
are really concerned at this point with what we are seeing in the trends and believe

that immediate action is needed now to flatten the curve,” which may include

regressing to another stay-home order.“

 

2 Id.
7 Id.
a3 Dire warnings from health officials as coronavirus runs wild in Washington: ‘Any in-

person — gathering is risky’, Seattle Times, |§ November 11, 2020.
https:/Avww.seattletimes.com/seattle-news/health/dire-warnings-from-health-oflicials-as-
coronavirus-runs-wild-in-washineton-any-in-person-gathering-is-risky/

“Id.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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@ase 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2850 Page 13 of 30

Then, on November 15, 2020, because a consistent increase in daily case
counts in Washington state - with over 2,000 cases a day over the weekend and
average cases in the state doubling over the past two weeks — Governor Inslee held a
press conference and stated: “this spike puts us in a more dangerous a position as we
were in March,” . . . “And it means, unfortunately, the time has come to reinstate
restrictions on activities statewide to preserve the public’s well-being, and to save
lives. These were very difficult decisions that have very real consequences to
people’s livelihoods. I recognize that and don’t take those impacts lightly, but we
must act now and act quickly to slow the spread of this disease.”

Consequently, the Governor issued immediate state-wide restrictions, which
include, in part:

- Indoor Social Gatherings with people from outside your household are
prohibited unless they (a) quarantine for fourteen days (14) prior to the
social gathering; or (b) quarantine for seven (7) days prior to the social
gathering and receive a negative COVID- 19 test result no more than

48-hours prior to the gathering. A household is defined as individuals
residing in the same domicile.

- Outdoor Social Gatherings shall be limited to five (5) people from
outside your household.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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@ase 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2851 Page 14 of 30

Proclamation by the Governor No. 20-25.8 (Nov. 15, 2020).*° These restrictions were
to begin immediately and last at least until December 14, 2020, but due to the
dangerous levels of COVID-19, the restrictions were extended to January 4, 2021."
Although courts are exempt from the modifications, it is unclear how the restrictions
on social gathering can be maintained in courtrooms.

Moreover, COVID-19’s transmission and its impact on the human immune
system remains unclear. For instance, Dr. Anthony Fauci, the director of the National
Institute of Allergy and Infectious Diseases, explained that the data shows that
aerosol transmission of the virus does occur, and these aerosol droplets “hang around
for a period of time” in the air and do not immediately drop.‘’” Researchers have found
that “some viruses persist longer in colder and drier conditions; that aerosolized
viruses can remain more stable in cooler air; that viruses can replicate more swiftly

in such conditions; and that human immune systems may respond differently

 

= https://www.governor.wa.gov/sites/default/files/proclamations/proc 20-

46 Inslee announced new economic supports and extension of restrictions.
December 8, 2020. https://www.governor.wa.gov/news-media/inslee-announces-new-
economic-supports-and-extension-restrictions

7 Holly Yan, “COVID-19 could kill 2,900 Americans a day in December,
researchers say. Here’s why, and how you can make fall and winter better,” CNN
(Oct. 5, 2020) https://www.cnn.com/2020/10/05/health/fall-winter-covid-]9-surge-
impact/index.htm]

Defense (Donovan Cloud) Motion to Continue

Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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@ase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2852 Page 15 of 30

depending on seasons.”** Inadequate or poor ventilation and the difficulty of social
distancing in indoor environments will likely exacerbate the spread of COVID-19
during the winter months.

The short- and long-term health effects associated with COVID-19 also
remain unclear. In a recent multi-state study of symptom duration and risk factors,

researchers found the following:

[E]ven among symptomatic adults tested in outpatient settings, it might
take weeks for resolution of symptoms and return to usual health. Not
returning to usual health within 2-3 weeks of testing was reported by
approximately one third of respondents. Even among young adults aged
18-34 years with no chronic medical conditions, nearly one in five reported
that they had not returned to their usual state of health 14-21 days after
testing. In contrast, over 90% of outpatients with influenza recover
within approximately 2 weeks of having a positive test result.”

The unresolved symptoms reported by the highest percentages of patients
included cough, fatigue, congestion, dyspnea, a loss of taste and smell, and

confusion. Additionally, COVID-19 has been associated with myocarditis, which is

 

=e Mike Baker, “Worried about COVID-19 in the winter? Alaska Provides a
Cautionary Tale,” New York Times (Oct. 21, 2020)
https://www.nytines.com/2020/10/21/us/coronavirus-cold-weather-winter-
alaska.htm]

” MW Tenforde, SS Kim, CJ Lindsell, et al., “MMWR Morbidity and Mortality
Weekly Report, Symptom Duration and Risk Factors for Delayed Return to Usual
Health Among Outpatients with COVID-19 in a Multistate Health Care Systems
Network — United States,” March — June 2020 (July 31, 2020), available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7392393/.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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damage and inflammation to the heart muscle, or pericarditis, which is damage and
inflammation to the covering of the heart itself.°? These particular conditions can
occur independently or concurrently.

In sum, the pandemic continues to pose significant health and safety risks—
both short-term and long-term—with the death toll, hospitalizations, infection rates
and positivity rates all continuing to increase at alarming rates in the past few weeks,
and with the start of flu season and winter, those rates are currently predicted to
escalate dramatically in the months to come even with the hope for vaccines. And

according to the CDC, when an approved vaccine will be widely distrusted and
available is unknown.*!

B. Courts Have Routinely Continued Trials Because of the Dangers
Associated with COVID-19.

Most state and federal courts across the country have vacated case schedules
because of the dangers in conducting court hearings during the pandemic. See e.g.,
United States v. Harris, No. 2:20-cr-00049, 2020 U.S. Dist. LEXIS 88155, at *4-5

(E.D. Cal. May 19, 2020) (Almost every court faced with the question of whether

 

°° —s CDC Staff, “Long-Term effects of COVID-19,” Centers for Disease Control
and Prevention (Sept. 16, 2020), https://www.cdc.gov/coronavirus/2019-ncov/long-
term-effects.html

>I 8 Things to Know about Vaccine Planning — Center for Disease Control and

Prevention:https://www.cdc.gov/coronavirus/2019-ncov/vaccines/8-things.html

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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hase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2854 Page 17 of 30

general COVID-19 considerations justify an  ends-of-justice continuance and
exclusion of time has arrived at the same answer: yes. Many districts now simply
resort to 2-page form orders invoking Section 3161(h)(7)).*

On March 30, 2020, dozens of federal Chief Judges entered Orders finding that
due to COVID-19, court proceedings “cannot be conducted in person without

seriously jeopardizing public health and safety.” See, e.g., United States v. Jackson,

 

°2 «See e.g., United States v. Chavez, et al., No. 15-0285 (N.D. Cal., June 9,
2020)(Dkt. 848), where Government stipulated in a complex case that “[t]he COVID-
19 pandemic has truly changed the landscape of our world. The parties also have
concerns about greater difficulties in the Fall if, as medical experts have warned,
there is an increase in the spread of COVID-19 when the weather cools, schools
reopen, and many more people return to their traditional work environments. For all
of these reasons, the defense requests, and the government agrees, that it is
appropriate to continue the July 9, 2020, trial date to May 2, 2022. The parties also
request that the Court vacate the Scheduling Order in its entirety.” The Court agreed.
Id. at 5. See also United States v. Saipov, No. 17-cr-722 (S.D.N.Y. April 30, 2020,
July 16, 2020)(Dkts. 326, 340)(Federal case where Court concluded continuance was
“necessary in light of the COVID-19 health crisis, and to allow the parties to continue
their preparation for trial.” Dkt. 326. The Court granted the parties’ request to exclude
time in the interests of justice through August 17, 2020. No trial date has been set in
light of the pandemic and parties’ need to prepare for trial. Dkt. 340); United States
v. Smith, No. 16-cr-00086-SLG-1 (D. Alaska,)(Dkt. 935); United States v. Oscar
Contreras Aguilar, et al., No. 1:18-cr-00123 (RDA)(E.D. Va. July 28, 2020) (Dkt.
647)(In a multi-defendant, complex case, upon motion of some of the defendants and
without objection from the government, the court vacates an August 24, 2020 trial
date for the non-capital defendants and declines to set a new date, in part because of
“the challenges inherent in preparing for and commencing with a multi-defendant
criminal jury trial involving many witnesses, some of which are out-of-state, during
the COVID19 pandemic.”).

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

17

 
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@ase 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2855 Page 18 of 30

No. 1:19-cr-00492, 2020 WL 2759601, at *1(S.D.N.Y. May 26, 2020) (“On March
30, 2020, Chief Judge McMahon issued Standing Order M10-468, finding that in-
person proceedings would seriously jeopardize public health and safety... .”);
United States v. Keosackdy, No. 3:19-CR-061 JD (N.D. Ind. May 20, 2020)(Dkt.
57)(“[P]ursuant to General Order 2020-08, the Chief Judge of the district has
concluded that in-person hearings cannot be conducted without seriously
jeopardizing public health and safety as a result of the current Covid-19 pandemic.”);
United States v. Collazo, No. 2:19-00120, 2020 WL 1905293, at *1(S.D.W. Va. Apr.
17, 2020) (“On March 30, 2020, the Chief Judge of this District, acting pursuant to
the CARES Act and the authority granted by the Judicial Conference of the United
States, found that felony sentencings could not be conducted in person without
seriously jeopardizing public health and safety.”); United States v. Emory, No. 19-
00109 JAO, 2020 WL 1856454, at *1(D. Haw. Apr. 13, 2020) (“On March 30, 2020,
the Chief Judge of this District, acting pursuant to the CARES Act and the authority
granted by the Judicial Conference of the United States, found that felony sentencings
could not be conducted in person without seriously jeopardizing public health and
safety ...”); United States v. Rodriguez, No. 2:19-CR-237-KJM, 2020 WL 3056437,
at *1 (E.D. Cal. June 9, 2020) (“On March 30, 2020, the Chief Judge of this District,

per General Order 614, [found that] felony pleas under Rule 11 of the Federal Rules

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

18

 
 

q@ase 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2856 Page 19 of 30

of Criminal Procedure and felony sentencings under Rule 32 of the Federal Rules of
Criminal Procedure cannot be conducted in person without seriously jeopardizing
public health and safety.”); and, In re: Expanded Use of Elec. & Other Signatures
Due to Exigent Circumstances Created by Covid-19, No. ING ORDER MC 120-007,
2020 WL 1816469, at *1 (S.D. Ga. Apr. 9, 2020) (“[O]n March 30, 2020, the Chief
Judge of this District, pursuant to Section 15002(b) (1) of the CARES Act and based
on a finding that criminal proceedings cannot be conducted in person without
seriously jeopardizing public health and safety, entered an Order-MC120-005 ....”).

This Court issued a similar order on March 30, 2020, finding it necessary in
the interest of justice and public health and safety to take proactive measures to help
slow the spread of the virus and ensure the safety of litigants, counsel, Court staff,
grand jurors, petit jurors, witnesses, and the public.*? Because the same safety
concerns continue to exist, the Eastern District of Washington has issued no less than
thirteen (13) general orders — the most recent issued on November 24, 2020 -
extending the restrictions or limitations on access to the United States Courthouse in

Yakima, Washington (the William O. Douglas Federal Building). ™

 

aa See General Order 20-1

*4 See General Orders 20-101-1, 20-101-2, 20-101-3, 20-101-4, 20-101-5, 20-
101-6, 20-101-7, 20-101-8, 20-101-9, 20-101-10, 20-101-11, 20-101-12 and 20-101-
13. The Court has struck in-person hearings for the same safety concerns. See e.g.,
Defense (Donovan Cloud) Motion to Continue

Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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(tase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2857 Page 20 of 30

At this point, there is simply too much that we do not know. These health and
safety threats, however, are likely to remain with us until such time as a vaccine is
developed and distributed.°> The report of the Covid-19 Judicial Task Force of the
United States Courts, while describing at length various measures that must be
considered before it is possible and safe to resume jury trials, has not concluded that
trials can be undertaken effectively and safely for all involved during this pandemic.
The best that can be hoped for is to “minimize” risk.°°

No jury trials have occurred in the United States Courthouse in Yakima,
Washington since March, 2020, and given the unfortunate reality that the pandemic
has gotten worse, and is expected by experts to continue to spread and sicken millions

more people, when safe trials are to occur would be nothing short of dangerous

speculation. See, e.g., United States v. Smith, No. 2:19-cr-00213, 2020 WL 2541713,

 

Case No. 1:19-cr-02058-SMJ, ECF 157 (9/3/2020) and Case No. 4:19-cr-06069-
SMJ, ECF 200 (9/8/2020).

= Criminal Court Reopening and Public Health in the COVID-19 Era, NACDL
Statement of Principles and Report, June, 2020, at 7 (“NACDL does not believe that
it is possible to protect health and safety in the courtroom while protecting
constitutional rights of accused.”’).

https ://nacdl. org/Document/CriminalCourtReopeningAndCOVID-19

es Conducting Jury Trials and Convening Grand Juries During the Pandemic,
Report of the Jury Subgroup, COVID-19 Judicial Task Force, United States Courts,
June 5, 2020.

https://www.uscourts.gov/sites/default/files/combined jury trial post _covid doc 6

10.20.pdf

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

20

 

 
 

Fase 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2858 Page 21 of 30

at *6 (E.D. Cal. May 19, 2020) (“[P]redicting the trajectory of this virus and its
impact on the Court comes with a fair measure of speculation.”); Arizonans for Fair
Elections v. Hobbs, No. CV-20-00658-PHX-DWL, 2020 WL 1808677, at *3 (D.
Ariz. Apr. 9, 2020) (“It is folly for anyone to predict exactly how long the pandemic
will last and how long the state and local responses to the pandemic will remain in
effect.”); In re Broiler Chicken Antitrust Litig., No. 1:16-cv-08637, 2020 WL
3469166, at *8 (N.D. Ill. June 25, 2020) (“Recent statements by public health
officials about the staying power ofCOVID-19 also belie
Defendants’ speculation that things may be so different in the Fall.”).

C. Administrative Office of the United States Courts Memorandum
Encourage a Consideration to Continuances

On December 7, 2020, the Administrative Office of the United States Courts
issued a memorandum regarding “Updated Guidance Regarding Judiciary Response
to COVID-19 for Criminal Proceedings and General Workplace Environments.” It
states, in part:

As COVID-19 case counts rebound, courts may need to change their
current operations or recovery phases to minimize face-to-face
interactions. Criminal proceedings continue to pose the highest risk to our
court unites and federal defender organizations. Reassessing risks in
courtroom activities, trial preparation, and field supervision may be
necessary to protect Federal Defenders (FD), Criminal Justice Act (CJA)
panel attorneys, probation and pretrial services officers, Court Security
Officers and Protective Security Offices. Contacts with clients in
correctional and detention facilities . . . create particular risks. And courts
Defense (Donovan Cloud) Motion to Continue

Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

21

 
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@ase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2859 Page 22 of 30

may once again need to rely on authorized use of videoconferencing for
criminal proceedings to limit the spread of the virus.

The memorandum highlights previous guidance with a focus on methods to
mitigate the spread of COVID-19 in criminal proceedings, including only conducting
in-person proceedings “only when necessary because conducting court proceedings
places parties, judges court employees, Deputy U.S. Marshals, and attorneys, and the
public at great risk.”

Moreover, the memorandum encourages courts give serious consideration to
continuances because the obstacles COVID-19 have created in trial preparation:

When jury trials resume, I encourage courts to give serious consideration
to continuance motions in light of the difficulties both sides may have
encountered in preparing for trial, as well as to other suggestions proposed
by the COVID-19 Judicial Task Force Jury Subgroup on Conducting Jury
Trials and Convening Grand Juries During the Pandemic.

D. COVID-19 Pandemic Severely Impacts Defense Counsels’ Ability
to Provide Effective Representation.

The constitutional right to counsel is among the most sacred rights. As the
Supreme Court instructs, it is “a fundamental component of our criminal justice

system:”

Lawyers in criminal cases “are necessities, not luxuries.” Their presence
is essential because they are the means through which the other rights of
the person on trial are secured. Without counsel, the right to a trial itself
would be “of little avail,” as this Court has recognized repeatedly. “Of all
the rights that an accused person has, the right to be represented by counsel

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

22

 

 
 

(tase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2860 Page 23 of 30

is by far the most pervasive for it affects his ability to assert any other
rights he may have.

United States v. Cronic, 466 U.S. 648, 653-54 (1984) (internal cites and footnotes
omitted). “The Amendment requires not merely the provision of counsel to the
accused, but the ‘Assistance,’ which is to be ‘for his defence.’” Jd, at 654.; see also
Gideon v. Wainwright, 372 U.S. 335, 344 (1963) (“[I]n our adversary system of
criminal justice, any person haled into court, who is too poor to hire a lawyer, cannot
be assured a fair trial unless counsel is provided for him.”). This is because being
counsel for any client means more than just seeing their client at the courthouse for
a hearing or trial. The Supreme Court recognized this when it stated that “the
assistance of counsel is not limited to participation in a trial; to deprive a person of
counsel during the period prior to trial may be more damaging than denial of counsel
during the trial itself.” Maine v. Moulton, 474 U.S. 159, 170 (1985); see also Powell
v. Alabama, 287 U.S. 45, 69 (1932) (even an educated defendant “requires the
guiding hand of counsel at every stage of the proceedings against him’); and, Brewer
v. Williams, 430 U.S. 387, 398 (1977) (right to assistance of counsel is a “vital need
at pretrial stage’).

Pretrial detainees have the right to effective counsel. Cobb v. Aytch, 643 F.2d
946, 957 (3d Cir. 1981); Johnson-El v. Schoemehl, 878 F.2d 1043, 1051 (8th Cir.
1989)(“Pre-trial detainees have a substantial due process interest in effective
Defense (Donovan Cloud) Motion to Continue

Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

23

 
 

(tase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2861 Page 24 of 30

communication with their counsel and in access to legal materials”). This Sixth
Amendment right attaches at the initiation of criminal proceedings, Kirby v. Illinois,
406 U.S. 682, 689(1972); see also Brewer, supra (stressing importance of protecting
right to counsel at pretrial stages), and continues through sentencing, Mempa v. Rhay,
389 U.S. 128, 134-37 (1967) (holding that the right to counsel extends to every stage
of criminal proceedings where the substantive rights of the accused might be
affected, including post- conviction sentencing and revocation of probation).
Counsel’s inaccessibility to clients, whether restricted by the Government or a
pandemic, impedes the right to counsel.

1. Counsel’s Inability to Properly Prepare the Case for Trial.

Congress recognized the importance of in-person communications between
capital counsel and their clients by mandating that counsel in capital cases “shall
have free access to the accused at all reasonable hours.” 18 U.S.C. § 3005; United
States v. Savage, 2010 WL 4236867 at 1 (E.D. Pa. 2010).°’ Additionally, pursuant
to the statutory requirements of 18 U.S.C § 3142(i)(3), an incarcerated defendant
must “be afforded reasonable opportunity for private consultation with counsel.”

This section was “designed to protect a defendant's Sixth Amendment right to

 

> Although currently the charges against the defendants are non-capital, the
Government has not provided assurances prohibiting that potential. See ECF 235 at
34.

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No, 194) With Leave to Renew

24

 
 

(tase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2862 Page 25 of 30

counsel.” Falcon v. U.S. Bureau of Prisons, 52 F.3d 137, 139 (7th Cir. 1995). “[I]f
that right is being infringed, [the Court] has the statutory authority to protect [a
defendant’s] access to counsel.” Jd.

“Face-to-face pretrial meetings between a defendant and his attorney are
important, especially where there appears to be a serious attempt to mount a
defense.” United States v. Bankas, No. 05- CR-075-S, 2005 U.S. Dist. LEXIS 19637,
at 6 (W.D. Wis. Sep. 8, 2005). Alternatives to in-person meetings with the client —
such as telephone, video-conferencing, or written communications — are inadequate
means for counsel to render effective representation. See United States v. Kennedy,
No. 18-20315, 2020 U.S. Dist. LEXIS 53359, at *9 (E.D. Mich. Mar. 27, 2020)
(finding that “communication difficulties [imposed by the jail due to COVID-19] are
endemic to confinement during the current pandemic and, under the facts of this case,
further support Defendant's release” under § 3142(i)).

In United States v. Beland, No. 2:19-CR-00021 WBS, 2020 U.S. Dist. LEXIS
118269, at *6 (E.D. Cal. July 1, 2020), the parties stipulated that:

the evolving COVID-19 pandemic has delayed or inhibited defense

counsel's ability to effectively prepare for trial, and/or affected the

manner and speed of any defense preparation that is possible ... an ends-
of-justice delay is particularly apt in this case because the safety measures
instituted in response to these public health concerns—such as stay-at-

home orders, travel restrictions, and closures—have affected, and will
continue to affect, defense counsel's ability to conduct investigation and

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

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(tase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2863 Page 26 of 30

prepare for trial, including identifying and interviewing potential
witnesses and identifying and retaining potential expert(s) ...

See also United States v. Ward, No. 2:19-CR-0129-MCE, 2020 U.S. Dist. LEXIS
155165, at *6 (E.D. Cal. Aug. 26, 2020); United States v. Bluford, No. 2:18-CR-
00008-MCE, 2020 U.S. Dist. LEXIS 155171, at *5-6 (E.D. Cal. Aug. 25, 2020)(In
addition to the public health concerns cited by the General Orders and declarations
of judicial emergency, and presented by the evolving COVID-19 pandemic, an ends-
of-justice delay is particularly apt in this case because defendant's counsel has
relayed that he has been delayed in consulting with defendant due to the COVID-19
pandemic and visitation restrictions at the jail where defendant is detained.)
(Emphasis added).

Furthermore, the Supreme Court announced long ago that it was “clear that
the ‘assistance of counsel’ guaranteed by the Sixth Amendment contemplates that
such assistance be untrammeled and unimpaired by conflicting interests. If the right
to the assistance of counsel means less than this, a valued constitutional safeguard is
substantially impaired.” Glasser v. United States, 315 U.S. 60, 70 (1942). Simply
put, the Sixth Amendment right to counsel demands conflict-free counsel. Wood v.
Georgia, 450 U.S. 261, 271 (1981) (“Where a constitutional right to counsel exists,
our Sixth Amendment cases hold that there is a correlative right to representation
that is free from conflicts of interest”).

Defense (Donovan Cloud) Motion to Continue

Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

26

 
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tase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2864 Page 27 of 30

As the National Association of Criminal Defense Lawyers (“NACDL”)
recently noted, “[c]onflict-free representation is not possible where defense counsel
are placed at risk of infection and fear contagion ... Fear of contagion during
counsel/client meetings or court, on the part of defense counsel, creates a conflict
with the duty of zealous advocacy.”°* Simply stated, the pandemic has created a
situation where counsel is unable to provide effective representation to clients based
on a conflict between their personal interests in not being exposed or exposing others
to the virus and their client’s interest in a comprehensive, thorough, and timely
investigation of their case. Counsel are laboring under an actual conflict of interest
because they are “required to make a choice advancing [their] own interests to the
detriment of [their] client's interests.” Stoia v. United States, 22 F.3d 766, 771 (7th
Cir. 1994) (internal citations omitted).

From March 2020, the beginning of the pandemic, to November 24, 2020, the
last status conference, the defense received approximately 2000 pages of discovery,

12 hours of audio recordings, and 180 minutes of videos. Just since the October 27,

 

58 See, Criminal Court Reopening and Public Health in the COVID-19 Era,
NACDL Statement of Principles and Report, June, 2020, at 4-5.
https://nacdl.org/getattachment/56802001 -1bb9-4edd-8 1 4d-

c8d5c41346f3/criminal-court-reopening-and-public-health-in-the-covid-19-era.pd

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

27

 
 

@ase 1:19-cr-02032-SMJ ECF No. 274 _ filed 12/08/20 PagelD.2865 Page 28 of 30

2020, status conference, the defense received nearly 3,500 pages of discovery (e.g.,
lab reports, latent print images, FBI reports, and missing serial reports), twenty (20)
CD’s containing nearly 55 hours of phone calls and a 1,000 page phone extraction,
and a 22 GB flash drive of 3D scanner projects.

Furthermore, as noted at the November 24, 2020, status hearing, the
Government anticipates receiving numerous other reports by February, 2021. And
depending on the results, the Government may seek a Fourth Superseding Indictment
that may include potentially capital-eligible charges.

The Yakima County Jail, where Donovan Cloud has been incarcerated, closed
all jail visits in the middle of March, 2020, and only recently (October 15, 2020) have
legal visits resumed. Given the amount of discovery, both time and COVID-19 have
altered in-person counsel-client contact.

2. Counsel, Investigators and Experts Have Been Unable to Conduct
Adequate Investigation.

Additionally, due to health and safety concerns, counsel has been unable to
conduct the type of investigation required under the Sixth Amendment. Counsel has
a duty to make reasonable investigations or to make a reasonable decision that makes
particular investigations unnecessary. Strickland v. Washington, 466 U.S. 668, 691,
104 S. Ct. 2052, 2066 (1984). Under Strickland, counsel's investigation must
Defense (Donovan Cloud) Motion to Continue

Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

28

 
 

dtase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2866 Page 29 of 30

determine strategy, not the other way around." Browning v. Baker, 875 F.3d 444, 473
(9th Cir. 2017), quoting Weeden v. Johnson, 854 F.3d 1063, 1070 (9th Cir. 2017).

It is the duty of the lawyer to conduct a prompt investigation of the
circumstances of the case and to explore all avenues leading to facts
relevant to the merits of the case and the penalty in the event of conviction.
The should always include efforts to secure information in the possession
of the prosecution and law enforcement authorities. The duty
to investigate exists regardless of the accused's admissions or statements
to the lawyer of facts constituting guilt or the accused's stated desire to
plead guilty.

ABA Standards for Criminal Justice 44.1 (2d ed. 1980).
Summerlin v. Schriro, 427 F.3d 623, 629-30 (9th Cir. 2005).
E. CONCLUSION
For the reasons expressed above, the Defense respectfully requests the Court
to strike the dates set out in ECF No. 165; set a trial date for February 28, 2022, with
a pre-trial for January 25, 2022; and strike the Defense Motion to Suppress
Identification (ECF No. 194) with leave to renew.

DATED this 8" day of December, 2020.
Presented by:

/s/ Richard A. Smith
RICHARD A. SMITH, WSBA 15127

/s/ Mark A. Larrafiaga
MARK A. LARRANAGA, WSBA 2275
Attorneys for Defendant Donovan Cloud

 

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

29

 
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dtase 1:19-cr-02032-SMJ ECF No. 274 filed 12/08/20 PagelD.2867 Page 30 of 30

CERTIFICATE OF SERVICE

[ hereby certify under penalty of perjury of the laws of the State of Washington
that on December 8, 2020, I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF System which will send notification of such filing to all

parties.

/s/ Lugene M. Borba
LUGENE M. BORBA
Legal Assistant, Smith Law Firm

Defense (Donovan Cloud) Motion to Continue
Trial and to Strike the Motion to Suppress Identification
(ECF No. 194) With Leave to Renew

30

 

 
